        Case 1:17-cv-02858-TCB Document 73 Filed 06/06/18 Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

LARSHELL CURLEY, et al.,

      Plaintiffs,                           CIVIL ACTION NO.

v.                                          1:17-CV-02858-TCB

$972,415.47 in U.S. CURRENCY,

     Defendant.

                                   ORDER

      On this date, potential claimant Rodney McCrae contacted the chambers of

the undersigned and requested the opportunity to obtain counsel to represent him in

this matter. As the docket reflects, the Clerk entered default against Mr. McCrae

on May 17, 2018, pursuant to Federal Rule of Civil Procedure 55(a). Although the

Federal Rules authorize a Court to set aside a Clerk’s entry of default for good

cause, see Fed. R. Civ. P. 55(c), Mr. McCrae has not filed any motion seeking such

relief or made any appearance in this case whatsoever.

      A mediation in this case is currently set for tomorrow, June 7, 2018. Given

Mr. McCrae’s communication with the Court, I conclude that the mediation should

be postponed to allow Mr. McCrae the opportunity to file a motion to set aside the
        Case 1:17-cv-02858-TCB Document 73 Filed 06/06/18 Page 2 of 2




Clerk’s entry of default. If Mr. McCrae intends to file such a motion, he must do

so on or before June 20, 2018.

      The mediation set for tomorrow is hereby CANCELLED and will be

rescheduled at a later date.

      The Clerk is DIRECTED to mail a copy of this Order to Mr. McCrae at the

address he provided to the Court today: 65 Blunt Road, Springfield, MA, 01109.

      SO ORDERED, this 6th day of June, 2018.




                                     CATHERINE M. SALINAS
                                     United States Magistrate Judge




                                       2
